                EXHIBIT 4
                Declaration of Dr. Patricia Hastings




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                             IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                          SOUTHERN DIVISION
                                             No. 7:23-CV-897



IN RE:                                         )
                                               )
CAMP LEJEUNE WATER LITIGATION                  )
                                               )
This Document Relates to:                      )
ALL CASES                                      )




                      DECLARATION OF DR. PATRICIA HASTINGS

   1. I, Dr. Patricia Hastings, make the following declaration in lieu of an affidavit as

permitted by 28 U.S.C. § 1746. I am aware that this declaration will be filed with the United

States District Court for the Eastern District of North Carolina, and that it is the legal equivalent

of a statement under oath.

   2. Currently, I am the Chief Consultant for the Department of Veteran Affairs’ Health

Outcomes Military Exposures (“HOME") group. HOME (formerly called the Post Deployment

Health Services) administers programs related to environmental and occupational exposures of

U.S. Veterans during military service, including potential exposure to contaminated water at U.S.

Marine Corps Base Camp Lejeune. I have been the Chief Consultant of HOME since April 2020.

Prior to being Chief Consultant, I was the Deputy Chief Consultant from December 2016 to

August 2019 and Acting Chief Consultant from August 2019 to April 2020.

   3. Prior to the Department of Veteran Affairs, I served with the U.S. Army for 33 years

and retired at the rank of Colonel. I entered the Army after medical school at the University of




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Osteopathic Medicine and Health Science in Des Moines, Iowa. I am board certified in

Emergency Medicine and have had a long and diverse career as a health provider.

    4. In my current role as Chief Consultant of HOME, and at the request of the Veteran’s

Benefit Administration (“VBA”), I authored a presentation on Camp Lejeune registries. This

was at the request of the VBA for its Federal Advisory Committee Act (FACA) Advisory

Committee on Disability Compensation as an informational brief about registries. The

purpose of the presentation was to discuss the use and limitations of research registries and

that research registries are not for the purpose of healthcare or benefits. The presentation was

given once on 28 June 2023. I included non-research registries to show what other lists were

related to Camp Lejeune. The information on these lists were from Scott Williams, a Program

Manager for the US Marine Corps Camp Lejeune Program. This presentation was included in

Plaintiffs’ Memorandum in Support of their Motion for Reconsideration of Court’s Order

Denying the Motion to Compel Production of Muster Rolls. See Exhibit A to DE 193.

    5. On Page 5 of this presentation, I reference the Marine Corps Unit Diary Database

(MUDD). The name “MUDD” and all related information came from Scott Williams,

Environmental Programs Manager for Marine Corps Installation East. I have no independent

knowledge of the MUDD’s existence, location, contents, or searching capabilities, as I

personally have never accessed the MUDD or any other collection of digitized muster rolls or

unit diaries.

I declare under penalty of perjury that the foregoing is true and correct.

                    Digitally signed by
PATRICIA            PATRICIA HASTINGS
                    Date: 2024.05.06
HASTINGS            15:31:25 -04'00'




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